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                    EXHIBIT "B"
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                           IN THE STATE COURT OF DEKALB COUNTY
                                     STATE OF GEORGIA


ZAKIYYAH AL-BADEE,                                )
                                                  )         CIVIL ACTION FILE NO.:
                 Plaintiff,                       )
                                                  )         21A-02603
vs.                                               )
                                                  )
GOLDEN CORRAL CORPORATION,                        )
                                                  )
                 Defendant.                       )

                           NOTICE OF FILING NOTICE OF REMOVAL

TO:     CLERK, STATE COURT OF DEKALB COUNTY

        In compliance with 28 U.S.C. § 1446(d), you are hereby notified of the filing of a Notice

of Removal in this action with the United States District Court for the Northern District of Georgia,

Atlanta Division, a copy of which is attached hereto and by reference made a part hereof.

        Respectfully submitted this 22nd day of June, 2021.

                                                  Cruser, Mitchell, Novitz, Sanchez,
                                                  Gaston & Zimet, LLP

                                                  /s/ William T. Mitchell
                                                  William T. Mitchell
                                                  Georgia Bar No. 513810
                                                  Email: bmitchell@cmlawfirm.com
                                                  Direct Dial: 404-881-2633

                                                  /s/ John D. Rogers, Jr.
                                                  John D. Rogers, Jr.
                                                  Georgia Bar No. 612745
                                                  Email: jrogers@cmlawfirm.com
                                                  Direct Dial: 678-684-1778

                                     [signatures continue on next page]




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                                         /s/ Marisa M. Beller
                                         Marisa M. Beller
                                         Georgia Bar No. 845893
                                         Email: mbeller@cmlawfirm.com
                                         Direct Dial: 678-684-4157

                                         (Attorneys for Defendant
                                         Golden Corral Corporation)




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                                         CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that I have this day electronically filed the NOTICE OF FILING

NOTICE OF REMOVAL with the Clerk of Court via the Odyssey file and serve system, and that

I have served a copy of same to counsel of record, via certified mail, with adequate postage,

addressed as follows:

                                         Rita Tucker Williams
                                            Ledia L. Regis
                            WILLIAMS & ASSOCIATES LAW FIRM, P.C.
                                            220 Church St.
                                          Decatur, GA 30030
                                 rtwilliams@williamsandassoc.com
                                   lregis@williamsandassoc.com

                                            (Attorneys for Plaintiff)

                                            Via Certified Mail No.
                                         9171 9690 0935 0232 0238 05


        This 22nd day of June, 2021.

                                                    Cruser, Mitchell, Novitz, Sanchez,
                                                    Gaston & Zimet, LLP

                                                    /s/ John D. Rogers, Jr.
                                                    John D. Rogers, Jr.
                                                    Georgia Bar No. 612745




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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

ZAKIYYAH AL-BADEE,                             )
                                               )    CIVIL ACTION FILE NO.:
                 Plaintiff,                    )
                                               )
vs.                                            )
                                               )
GOLDEN CORRAL CORPORATION,                     )
                                               )    Jury Trial Demanded
                 Defendant.                    )

                             NOTICE OF REMOVAL TO THE
                            UNITED STATES DISTRICT COURT

        COMES NOW, GOLDEN CORRAL CORPORATION, sole defendant

(hereinafter “Defendant” in the above-styled civil action, appearing specially and

without waiving any defenses related to venue, service, process and jurisdiction,

hereby files this Notice of Removal pursuant to Fed. R. Civ. P. 81(c) and 28 U.S.C.

§§ 1332(a), 1441(b) and 1446, respectfully showing the Court as follows:

                   FACTUAL AND PROCEDURAL BACKGROUND

        Plaintiff ZAKIYYAH AL-BADEE has filed a civil action against Defendant

GOLDEN CORRAL CORPORATION in the State Court of DeKalb County,

Georgia, Civil Action File No. 21A02603. The State Court of DeKalb County,

Georgia is located within the Atlanta Division of the United States District Court for

the Northern District of Georgia.



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                                           1.

        In her Complaint, Plaintiff alleges the following: (1) that she suffered injury

as a result of a June 4, 2019, premises accident in DeKalb County, Georgia, (2)

involving a restaurant and employees purportedly owned/employed by Defendant

Golden Corral Corporation, and (3) her claimed special damages exceed

$100,000.00.

                                           2

        Defendant Golden Corral Corporation was served with a copy of the

Summons and Complaint on May 28, 2021.

                                           3.

        This Notice of Removal is therefore timely filed within thirty (30) days of

service of process pursuant to 28 U.S.C. § 1446(b).

                                           4.

        Defendant Golden Corral Corporation, the sole Defendant in this action

consents, through Counsel, to the removal of this action from the State Court of

DeKalb County, Georgia to the United States District Court for the Northern District

of Georgia, Atlanta Division.




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                                         BASIS FOR REMOVAL

                                                5.

        Defendant incorporates by reference as if fully set forth herein the preceding

paragraphs 1 through 4 of Defendant’s Notice of Removal.

                                                6.

        Plaintiff Zakiyyah Al-Badee is and was at all relevant times a resident of

Georgia (Plaintiff’s Complaint, Paragraph 1).

                                                7.

        Defendant Golden Corral Corporation is a North Carolina for profit

corporation. Its principal place of business is located within Raleigh, North Carolina

(Plaintiff’s Complaint, Paragraph 2).

                                                8.

        Complete diversity of citizenship existed between Plaintiff and Defendant at

the time Plaintiff commenced the State Court action and there remains complete

diversity of citizenship between Plaintiff and Defendants.

                                                9.

        Upon information and belief, the amount in controversy exceeds the sum of

$75,000, exclusive of interest and costs. Specifically, Plaintiff alleges current

medical special damages of $23,589.40; estimated future treatment in the amount

of $100,000.00; and Past, Present, and Future Pain and Suffering in the amount of


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$100,000.00. Defendant understands Plaintiff alleges to have undergone multi-

level lumbar disc procedures as a result of the incident at issue in this matter.

Accordingly, this Court has original diversity jurisdiction over this matter under 28

U.S.C. § 1332(a) and removal is proper under 28 U.S.C. § 1441(a).

                                         CONCLUSION

                                             10.

        Defendant incorporates by reference as if fully set forth herein the preceding

paragraphs 1 through 9 of Defendant’s Notice of Removal.

                                             11.

        This is a civil action over which this Court has original federal jurisdiction

and is one which may be removed to this Court pursuant to 28 U.S.C. §§ 1332, 1441

and 1446 because there is complete diversity of citizenship between the parties and

the amount in controversy exceeds the jurisdictional requirement of $75,000.00.

                                             12.

        As required by 28 U.S.C. § 1446(a), the entire record in the state court action,

including copies of all process, pleadings and orders filed as of this date, and a copy

of the court’s docket sheet, are attached to and filed contemporaneously with this

Notice of Removal as Exhibit “A”.




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                                         13.

        Venue is proper for removal to this district pursuant to 28 U.S.C. § 1441(a)

because this district and division embrace the place in which the removed action had

been pending.

                                         14.

        Defendant will promptly file the Notice of Filing Notice of Removal with the

Clerk of the State Court of DeKalb County, Georgia in the State Court action as

required by 28 U.S.C. § 1446(d), a copy of which is attached as Exhibit “B”.

                                         15.

        Golden Corral Corporation will promptly serve a copy of this Notice of

Removal on all adverse parties and file a copy in the State Court Action in the State

Court of DeKalb County, Georgia.

                                         16.

        Defendant reserves the right to amend or supplement this Notice of Removal

in accordance with the Federal Rules of Civil Procedure, other applicable law and

any scheduling order of this Court.

                                         17.

        Defendant reserves all defenses to the underlying action.




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                                                18.

        The undersigned has read this Notice of Removal, and to the best of the

undersigned’s knowledge, information and belief, formed after reasonable inquiry,

it is well-grounded in fact and is warranted by existing law, and it is not interposed

for any improper purpose, such as to harass or to cause unnecessary delay or needless

increase in the cost of litigation.

        WHEREFORE, Defendant Golden Corral Corporation, respectfully requests

that this action, now pending in the State Court of DeKalb County, Georgia, be

removed to the United States District Court for the Northern District of Georgia,

Atlanta Division.

        Respectfully submitted this 22nd day of June, 2021.

                                              Cruser, Mitchell, Novitz, Sanchez,
                                              Gaston & Zimet, LLP

                                              /s/ William T. Mitchell
                                              William T. Mitchell
                                              Georgia Bar No. 513810
                                              Email: bmitchell@cmlawfirm.com
                                              Direct Dial: 404-881-2633

                                              /s/ John D. Rogers, Jr.
                                              John D. Rogers, Jr.
                                              Georgia Bar No. 612745
                                              Email: jrogers@cmlawfirm.com
                                              Direct Dial: 678-684-1778

                                 [signatures continue on next page]



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                                         /s/ Marisa M. Beller
                                         Marisa M. Beller
                                         Georgia Bar No. 845893
                                         Email: mbeller@cmlawfirm.com
                                         Direct Dial: 678-684-4157

                                         (Attorneys for Defendant
                                         Golden Corral Corporation)




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                  CERTIFICATE OF COMPLIANCE WITH L.R. 7.1

        The undersigned attests that this document was prepared in Times New

Roman, 14-point font that complies with this Court’s Rules.


        This 22nd day of June, 2021.


                                         Cruser, Mitchell, Novitz, Sanchez,
                                         Gaston & Zimet, LLP

                                         /s/ John D. Rogers, Jr.
                                         John D. Rogers, Jr.
                                         Georgia Bar No. 612745




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                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that I have this day I have electronically filed the

foregoing NOTICE OF REMOVAL TO THE UNITED STATES DISTRICT

COURT with the Clerk of Court using the CM/ECF system and have served a copy

of the within and foregoing pleading to all parties to this matter via Certified Mail,

Return Receipt Requested, with proper postage prepaid, addressed as follows:

                                   Rita Tucker Williams
                                      Ledia L. Regis
                       WILLIAMS & ASSOCIATES LAW FIRM, P.C.
                                      220 Church St.
                                    Decatur, GA 30030
                            rtwilliams@williamsandassoc.com
                              lregis@williamsandassoc.com

                                         (Attorneys for Plaintiff)

                                       Via Certified Mail No.
                                    9171 9690 0935 0232 0238 05


        This 22nd day of June, 2020.

                                                  Cruser, Mitchell, Novitz, Sanchez,
                                                  Gaston & Zimet, LLP

                                                  /s/ John D. Rogers, Jr.
                                                  John D. Rogers, Jr
                                                  Georgia Bar No. 612745




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